Case 3:22-cv-00049-NKM-JCH Document 222 Filed 05/31/23 Page 1 of 7 Pageid#: 2613




                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                              CHARLOTTESVILLE DIVISION


  ------------------------------------X
  BABY DOE, A CITIZEN OF AFGHANISTAN      :
  CURRENTLY RESIDING IN NORTH             :
  CAROLINA, BY AND THROUGH NEXT           :                 CIVIL ACTION NO. 3:22-CV-49-NKM-JCH
  FRIENDS, JOHN AND JANE DOE; AND JOHN :
  AND JANE DOE, CITIZENS OF AFGHANISTAN :
  AND LEGAL GUARDIANS OF BABY DOE,        :
                                          :
       Plaintiffs,                        :
                                          :
  v.                                      :
                                          :
  JOSHUA MAST, STEPHANIE MAST, RICHARD :
  MAST, KIMBERLEY MOTLEY, AND AHMAD :
  OSMANI,                                 :
                                          :
       Defendants,                     :
                                        :
  and                                   :
                                        :
  UNITED STATES SECRETARY OF STATE      :
  ANTONY BLINKEN AND UNITED STATES :
  SECRETARY OF DEFENSE GENERAL          :
  LLOYD AUSTIN,                        :
                                       :
       Nominal Defendants.            :

  ------------------------------------X

             PLAINTIFFS’ OPPOSITION TO DEFENDANT RICHARD MAST’S
                              MOTION TO COMPEL

         This case is about the Masts’ years-long fraudulent scheme to abduct a child from her

  legal guardians in Afghanistan, which came to fruition after that family fled Afghanistan in 2021.

  Given the involvement of a minor, and legitimate safety concerns for both parties and nonparties,

  discovery involves highly sensitive information. That is why Plaintiffs sought the entry of a
Case 3:22-cv-00049-NKM-JCH Document 222 Filed 05/31/23 Page 2 of 7 Pageid#: 2614




  standard Protective Order, which would govern the parties’ exchange and use of confidential

  documents. See ECF No. 166 (“Plaintiffs’ Motion”). Defendant Richard Mast (“R Mast”) stood

  alone in opposition to Plaintiffs’ Motion, which remains pending.

         R Mast now comes to the Court to compel production of the documents Plaintiffs seek to

  protect—not withhold—with no agreement as to confidential treatment in place. R Mast has been

  advised that Plaintiffs stand ready to produce the requested documents—quite literally with the

  push of a button—upon either R Mast’s agreement to treat them in accord with the proposed

  Protective Order or the Court’s ruling on Plaintiffs’ Motion. Rather than agree to that

  accommodation, R Mast has filed this motion to compel. The motion mischaracterizes Plaintiffs’

  correspondence and position on the matter. More important, it elides the need for confidential

  treatment of the documents Plaintiffs are prepared to produce.

                                              Argument

         R Mast claims Plaintiffs refuse to produce any responsive documents “that are not

  confidential or so sensitive that they would qualify for a protective order under Rule 26.” Mot. at

  2. Not so. The parties held two meet-and-confers on R Mast's discovery requests, which lasted a

  total of two-and-a-half hours. During the second meeting on May 11, 2023, Plaintiffs advised

  that they would produce responsive, non-privileged, non-confidential documents, but their

  review had not yielded any.

         The volume of confidential information should be unsurprising. Discovery in this case is

  sensitive not just because of its subject matter and safety concerns, but also because a substantial

  amount of documents in Plaintiffs’ possession derive from discovery in a state-court matter

  under seal. Indeed, that court has required that the material obtained in the state-court matter be

  disclosed only pursuant to a protective order that preserves its confidentiality. See ECF No. 73,

                                                   2
Case 3:22-cv-00049-NKM-JCH Document 222 Filed 05/31/23 Page 3 of 7 Pageid#: 2615




  Ex. B (under seal). R Mast knows this. He is both named in that state-court order and counsel of

  record in that matter.

         R Mast’s contrary assessment of the need for confidentiality is wrong. For one, he

  contends the “case is neither complex nor likely to involve voluminous production of

  confidential information.” ECF No. 219 at 7. Perhaps R Mast does not intend to produce much—

  indeed, he has produced only 97 documents thus far—but Plaintiffs are prepared to produce

  nearly 1,200 documents spanning more than 4,700 pages. Moreover, while R Mast may prefer to

  represent that this case is not “complex,” the Amended Complaint alleges a conspiracy that took

  place across multiple years and across international borders, involving multiple court systems,

  including many proceedings maintained under seal. It is hardly a standard proceeding.

         R Mast is also wrong about the sensitive nature of Plaintiffs’ documents. His document

  requests focus on Plaintiffs’ familial relationships, personal identification documents, and

  communications regarding Baby Doe. All documents that Plaintiffs have identified as responsive

  to these requests contain some form of confidential information. Given that volume of

  confidential information, R Mast’s proposal that Plaintiffs identify each confidential page by

  Bates number accomplishes nothing as a practical matter. For the same reason, redaction of

  sensitive information would be unduly burdensome; the simpler solution would be, as Plaintiffs

  repeatedly propose, designating documents as confidential and treating them as such under the

  terms of the proposed Protective Order.1



  1
    Although his counsel raised the possibility during a meet-and-confer, R Mast does not now put
  forward redaction as a reasonable solution to this impasse. Nor could he, as redactions would not
  change the requirement that all documents obtained through the Circuit Court litigation be
  designated as confidential pursuant to a protective order. ECF No. 73, Ex. B. Moreover,

                                                   3
Case 3:22-cv-00049-NKM-JCH Document 222 Filed 05/31/23 Page 4 of 7 Pageid#: 2616




         R Mast’s request that Plaintiffs further categorize the reason each document should be

  treated as confidential is likewise unreasonable and unduly burdensome. That would simply

  invite sideshow litigation over different interpretations of confidentiality on the front end rather

  than conferring and reaching agreement as to the use of confidential documents in the litigation

  on an as-needed basis.

         Finally, R Mast’s brief mischaracterizes his own proposal, stating he had “agreed to abide

  by [Plaintiffs’] designations of confidentiality unless and until he successfully moved for a

  motion to compel.” ECF No. 219 at 3. In fact, R Mast offered that up only as a last resort when

  the parties disagree over a designation, and only after Plaintiffs specified on a document-by-

  document basis (or “by rubric”) their reason for designating particular information as

  confidential. But requiring Plaintiffs to obtain R Mast’s agreement as to confidentiality on the

  front end creates the “labyrinth” of “unnecessary procedures” he assigns to the proposed

  Protective Order. Plaintiffs’ proposal merely requires, as all routine protective orders do, that the

  party seeking to disclose information or documents they believe to be inaccurately designated as

  confidential to raise the issue before making such disclosures. Such caution is advisable given

  the potential for harm if confidential information is disclosed.

                                              Conclusion

         Plaintiffs stand ready to produce the requested documents as soon as a ruling is entered

  on their Motion (ECF No. 166) or R Mast agrees to abide by its terms pending the Court’s ruling.




  redaction is exceptionally burdensome, as evidenced by the fact that Plaintiffs dedicated
  hundreds of hours to redact portions of the record in the Circuit Court.

                                                    4
Case 3:22-cv-00049-NKM-JCH Document 222 Filed 05/31/23 Page 5 of 7 Pageid#: 2617




  For the reasons set forth above, the Court should deny Defendant Richard Mast’s Motion to

  Compel and grant Plaintiffs’ Motion for Protective Order (ECF No. 166).

  May 31, 2023                               Respectfully Submitted,

                                                    /s/ Maya Eckstein
                                                    Maya M. Eckstein (VSB No. 41413)
                                                    Lewis F. Powell III (VSB No. 18266)
                                                    Kevin S. Elliker (VSB No. 87498)
                                                    HUNTON ANDREWS KURTH LLP
                                                    951 E Byrd St
                                                    Richmond, VA 23219
                                                    Telephone: (804) 788-8200
                                                    Fax: (804) 788-8218
                                                    Email: meckstein@HuntonAK.com
                                                    Email: lpowell@HuntonAK.com

                                                    Jeremy C. King (admitted pro hac vice)
                                                    HUNTON ANDREWS KURTH LLP
                                                    200 Park Avenue
                                                    New York, NY 10166
                                                    Telephone: (212) 309-1000
                                                    Fax: (212) 309-1100
                                                    Email: jking@HuntonAK.com

                                                    Sehla Ashai (admitted pro hac vice)
                                                    ELBIALLY LAW, PLLC
                                                    704 East 15th Street
                                                    Suite 204
                                                    Plano, TX 75074
                                                    Telephone: (312) 659-0154
                                                    Email: ashai@elbiallylaw.com

                                                    Blair Connelly (admitted pro hac vice)
                                                    Zachary Rowen (admitted pro hac vice)
                                                    LATHAM & WATKINS LLP
                                                    1271 Avenue of the Americans
                                                    New York, NY 10029
                                                    Telephone: (212) 906-1200
                                                    Email: blair.connelly@lw.com
                                                    Email: Zachary.rowen@lw.com

                                                    Ehson Kashfipour (admitted pro hac vice)
                                                    Damon R. Porter (admitted pro hac vice)

                                                5
Case 3:22-cv-00049-NKM-JCH Document 222 Filed 05/31/23 Page 6 of 7 Pageid#: 2618




                                           LATHAM & WATKINS LLP
                                           555 Eleventh Street, N.W. Suite 1000
                                           Washington, D.C. 20004
                                           Telephone: (202) 637-2200
                                           Facsimile: (202) 637-2201
                                           Email: Ehson.Kashfipour@lw.com
                                           Email: Damon.Porter@lw.com


                                           Attorneys for Plaintiffs




                                       6
Case 3:22-cv-00049-NKM-JCH Document 222 Filed 05/31/23 Page 7 of 7 Pageid#: 2619




                                   CERTIFICATE OF SERVICE

          I hereby certify that on the 31st day of May, 2023, I electronically filed the foregoing with

  the Clerk of the Court using the CM/ECF system, which will send a notification of such filing to

  all CM/ECF participants.


                                                        By:     /s/ Maya M. Eckstein
                                                                Maya M. Eckstein (VSB # 41413)
                                                                Hunton Andrews Kurth LLP
                                                                Riverfront Plaza, East Tower
                                                                951 East Byrd Street
                                                                Richmond, Virginia 23219-4074
                                                                Telephone: (804) 788-8200
                                                                Facsimile: (804) 788-8218
                                                                meckstein@HuntonAK.com


                                                                Counsel for Plaintiffs




                                                   7



  099997.0007105 DMS 302350501v8
